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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 1:13-cr-223-03
v.
                                                     HONORABLE PAUL L. MALONEY
JEFFREY MICHAEL STARRETT,

                  Defendant.
_________________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Jeffrey Michael Starrett has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       On June 5, 2015, the Probation Department issued an Amended Eligibility Report

indicating Defendant appears to be ineligible for consideration of a modification of sentence.

Defendant has not filed any objection to the conclusion of the Probation Office.

       Upon consideration of the motion, the Court finds that Amendment 782 provides
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Defendant no relief. The statutory maximum term of imprisonment for the offense to which

Defendant plead guilty is 5 years pursuant to 18 U.S.C. § 1952(a)(3). Absent the statutory

maximum for the offense, Defendant’s guideline range would have been 210 to 262 months

based on a total offense level of 35 and a criminal history category of III. However, the guideline

range becomes the statutory maximum pursuant to U.S.S.G. § 5G1.1(a) and Defendant was

sentenced to 60 months imprisonment. As the resulting guideline range has not been lowered by

Amendment 782, the amendment is of no assistance to the defendant. Accordingly,

       IT IS HEREBY ORDERED that Defendant Jeffrey Michael Starrett’s motion

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) and for appointment of counsel

(ECF No. 255) is DENIED.




Date: July 22, 2015                           /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             Chief United States District Judge
